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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

JEROME BURNETT, *
Plaintiff, *
v. * Civ. No. JKB-22-02840
BJ’S WHOLESALE CLUB, INC., *
Defendant. *
* * * * x * * * * * * *

MEMORANDUM AND ORDER

The Court has reviewed Plaintiff's filing dated August 18, 2024, entitled “Motion for
Federal Rule 60—Relief from Judgment or Order / Motion for Federal Rule 59—Altering or
Amending a Judgment / Motion for Federal Rule 38 — Right to Jury Trial; Demand and ‘Allen
Charge’ / Motion for Federal Rule 15(b)(1) and Motion to Strike / Motion for Federal Rule 56—
Summary Judgment / Motion for Federal Rule 27 — Motions.” (ECF No. 157.) Final judgment
has been entered and this case is closed, and nothing in Plaintiff's filing provides adequate grounds
for relief from judgment or any other form of relief.

For these reasons, and for the reasons set forth in the Court’s August 21, 2024,
Memorandum and Order (ECF No. 156) denying Plaintiffs prior Motion for Relief from

Judgment, it is ORDERED that Plaintiff's Motion (ECF No. 157) is DENIED.

DATED this 7% day of August, 2024.

BY THE COURT:

Pun VK 1 Pg Bn

James K. Bredar
United States District Judge

